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                         United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 RESMAN, LLC,                                    §
                                                 §
       Plaintiff,                                §
                                                 §
                                                 §       CIVIL ACTION NO. 4:19-CV-00402
 v.                                                      Judge Mazzant
                                                 §
 KARYA PROPERTY MANAGEMENT,                      §
 LLC, and SCARLET INFOTECH, INC.                 §
                                                 §
 d/b/a EXPEDIEN, INC.,
                                                 §
       Defendants.                               §



                                    FINAL JUDGMENT

       On March 8, 2021, this action came on for trial before a jury. Both sides announced ready

for trial and, following the presentation of evidence, the jury was instructed to answer certain

questions. The jury returned a verdict by answering the questions on March 18, 2021. The jury

found that (1) Karya Property Management, LLC (“Karya”) failed to comply with the Master

Subscription Agreement; (2) Scarlet InfoTech, Inc. d/b/a Expedien, Inc. (“Expedien”) tortiously

interfered with the Master Subscription Agreement; (3) Expedien’s tortious interference with the

Master Subscription Agreement resulted from malice or gross negligence; (4) ResMan, LLC

(“ResMan”) proved the existence of one or more trade secrets; (5) ResMan proved it owned those

trade secrets; (6) Karya misappropriated ResMan’s trade secrets; (7) Expedien misappropriated

ResMan’s trade secrets; (8) Karya’s misappropriation of ResMan’s trade secrets was willful and

malicious; and (9) Expedien’s misappropriation of ResMan’s trade secrets was willful and

malicious. The jury awarded ResMan the following:

           1. $45,000.00 in lost profits damages arising from Karya’s breach of the Master
              Subscription Agreement;
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          2. $45,000.00 in lost profits damages arising from Expedien’s tortious interference
             with the Master Subscription Agreement;

          3. $11,400,000.00 in unjust enrichment damages arising from Expedien’s tortious
             interference with the Master Subscription Agreement;

          4. $30,000,000.00 in exemplary damages arising from Expedien’s tortious
             interference with the Master Subscription Agreement;

          5. $9,400,000.00 in unjust enrichment               damages     arising   from    Karya’s
             misappropriation of trade secrets;

          6. $11,400,000.00 in unjust enrichment damages arising from Expedien’s
             misappropriation of trade secrets;

          7. $40,000,000.00 in exemplary damages arising from Karya’s misappropriation of
             trade secrets; and

          8. $50,000,000.00 in exemplary damages arising from Expedien’s misappropriation
             of trade secrets.

       This final judgment is entered pursuant to FED. R. CIV. P. 58, the jury’s verdict, the Court’s

Memorandum Opinion and Order on ResMan’s Motion for Entry of Final Judgment and

Permanent Injunction and ResMan’s Motion for Appointment of Independent Monitor (Dkt.

#340), and the Court’s Memorandum Opinion and Order on Defendants’ Rule 50(b) Motion for

Judgment as a Matter of Law (Dkt. #339).

       It is hereby ORDERED that:

   1. The Master Subscription Agreement was a valid and enforceable contract between ResMan
      and Karya.

   2. Karya breached the Master Subscription Agreement, causing harm to ResMan.

   3. ResMan is the owner of one or more trade secrets.

   4. Karya willfully and maliciously misappropriated one or more such trade secrets, causing
      harm to ResMan.

   5. Karya’s affirmative defense of excuse by prior material breach is dismissed with prejudice.



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      It is further ORDERED that:

   1. ResMan is AWARDED and shall recover the following damages from Karya:

         a. Lost profit damages in the amount of $45,000.00 for Karya’s breach of the Master
            Subscription Agreement;

         b. Unjust enrichment damages in the amount of $9,400,000.00 for Karya’s
            misappropriation of ResMan’s trade secrets;

         c. Prejudgment interest on the foregoing amounts accruing at 5% annual simple
            interest beginning on June 3, 2019;

         d. Exemplary damages in the amount of $18,800,000.00 for Karya’s willful and
            malicious misappropriation of ResMan’s trade secrets; and

         e. Postjudgment interest on the foregoing amounts as provided in 28 U.S.C. § 1961
            accruing as of the date this judgment is signed until judgment is paid in full.

   2. ResMan is AWARDED and shall recover the following damages from Expedien:

         a. Unjust enrichment damages in the amount of $11,400,000.00 for Expedien’s
            misappropriation of ResMan’s trade secrets;

         b. Prejudgment interest on the foregoing amount accruing at 5% annual simple interest
            beginning on June 3, 2019;

         c. Exemplary damages in the amount of $22,800,000.00 for Expedien’s willful and
            malicious misappropriation of ResMan’s trade secrets; and

         d. Postjudgment interest on the foregoing amounts as provided in 28 U.S.C. § 1961
            accruing as of the date this judgment is signed until judgment is paid in full.

   3. ResMan is AWARDED and shall recover from Defendants jointly and severally:

         a. Costs of the action as determined pursuant to Federal Rule of Civil Procedure
            54(d)(1) and Local Rule CV-54;

         b. ResMan’s attorneys’ fees and expenses in an amount to be determined by the Court;
            and

         c. Postjudgment interest on the foregoing amounts as provided in 28 U.S.C. § 1961
            accruing as of the date this judgment is signed until judgment is paid in full.




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           It is further ORDERED that Defendants are PERMANENTLY ENJOINED as set forth
.
    in the Permanent Injunction entered contemporaneously herewith.

           THIS IS A FINAL JUDGMENT. All other relief requested by the Parties is hereby

    DENIED.

         SIGNED this 12th day of August, 2021.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE




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